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                 Exhibit 1
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Professor Peter Easton Expert Disclosure                                                       Page 1


                         Expert Disclosure – Professor Peter D. Easton
                                       (August 16, 2023)

        Peter D. Easton is the Notre Dame Alumni Professor of Accountancy and Director of the
Center for Accounting Research and Education at the Mendoza College of Business, the University
of Notre Dame. He will be called to testify regarding financial analysis, accounting, and financial
tracing, as further described below.

   A. Qualifications and Prior Testimony

       Professor Easton received bachelor’s degrees in Agricultural Science (majoring in
Agricultural Economics) in 1973 and Economics in 1978 from the University of Adelaide in
Adelaide, Australia. He completed a Diploma of Technical Teaching at the University of South
Australia in Adelaide, Australia, in 1978, and a Diploma in Financial Management at the
University of New England in Armidale, Australia, in 1980. He graduated with a Ph.D. in Business
Administration (majoring in Accounting and Finance) from the University of California at
Berkeley in 1984.

       Since 2003, Professor Easton has been the Notre Dame Alumni Professor of Accountancy
and Director of the Center for Accounting Research and Education at the Mendoza College of
Business, the University of Notre Dame. Prior to that appointment, he spent eight years as a chaired
professor of accounting at the Ohio State University and, prior to that, five years as a chaired
professor of accounting at Macquarie University in Australia. He has also served as an accounting
professor on the faculties at the University of Chicago Booth School of Business, the University
of Melbourne, the Graduate School of Business at Seoul National University, the Department of
Accounting at the National University of Singapore, the Australian Graduate School of
Management, Hong Kong Polytechnic University, the China Europe International Business School
and the Limperg Institute in The Netherlands.

        Over the past 40 years, Professor Easton has published numerous articles in peer-reviewed
academic accounting journals and is the author of five textbooks on accounting and valuation. He
is the principal author on two widely adopted textbooks: Financial Accounting for MBAs, which
is in its 8th edition and adopted by 665 universities and Financial Statement Analysis and
Valuation, now in its 6th edition and adopted by 424 universities. In addition to publishing, he has
served as Associate Editor for the four, leading peer-reviewed academic accounting journals in the
United States, as well as the leading peer-reviewed academic accounting journals in Australia,
Canada, and Europe. He served as Editor of the Review of Accounting Studies from 2003 to
September 2021 when he became Editor-in-Chief of a new peer-reviewed journal: Accountability
in a Sustainable World Quarterly. A list of all publications authored by Professor Easton is
attached as Appendix A.

        Professor Easton has previously testified in depositions, at trial, and at arbitrations. A list
of cases in the last four years in which he has testified as an expert is attached as Appendix B.
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        Professor Easton is affiliated with the consulting firm The Brattle Group. The Brattle
Group bills for Professor Easton’s time at a rate of $1,175 per hour, and he receives the full amount
billed for his time.

   B. Anticipated Opinions

       Outlined below are the opinions that Professor Easton is expected to offer as well as the
bases and reasons for those opinions:

        1. FTX.com received customer deposits principally in two ways: (i) in the form of
deposits of fiat that were processed through bank accounts in the names of Alameda Research,
North Dimension, FTX Trading, and FTX Digital Markets; and (ii) in the form of deposits of
cryptocurrency that were processed through cryptocurrency wallets owned by FTX. FTX received
billions of dollars in customer fiat and cryptocurrency deposits. When fiat deposits were made by
customers, they were recorded as a negative entry in FTX’s transaction database in the account
fiat@ftx.com and were recorded as a positive credit in the customer’s accounts. When a customer
withdrew funds in the form of fiat, FTX’s accounting database was designed to apply a credit (that
is, a negative adjustment) to the fiat@ftx.com account, and a debit (that is, a positive adjustment)
was made to the customer’s FTX account. The negative balance in the fiat@ftx.com account was
treated as a liability of Alameda Research because Alameda Research was supposed to have an
equal amount of fiat currency held in its accounts. When cryptocurrency deposits were made by
customers, the cryptocurrency was received into deposit addresses controlled by FTX, stored in
hot and cold storage wallets, and credits were made to customers’ FTX accounts. Professor
Easton’s testimony concerning the manner in which customer deposits and withdrawals were
processed will be based on explanatory documents provided on FTX’s website, documents shared
with investors and auditors, and from a review of bank and FTX database records.

        2. Customers’ funds deposited in the form of fiat were not held in segregated bank
accounts for the benefit of those customers. Instead, funds received into accounts in the names of
FTX, Alameda Research, and North Dimension were commingled with other funds belonging to
or in the possession of Alameda Research. As described below, customer funds deposited into
those bank accounts were used by Alameda Research for purposes other than processing customer
transactions. Professor Easton’s testimony concerning the commingling and use of customer funds
will be based on review of bank account records and the general ledger files of Alameda Research
entities. The testimony will also be based on the review of FTX database records, which were used
to determine whether deposits or withdrawals into or from accounts were made by customers.

        3. Because of the use and spending of customer deposits in bank accounts that were
accessed by Alameda Research, the amount of customer fiat deposits held in bank accounts was
substantially smaller than Alameda Research’s fiat liability reflected by the balance of the
fiat@ftx.com account. The negative fiat balance reflected by fiat@ftx.com, as well as the
discrepancy between the fiat balance and the amount of funds actually held by Alameda Research
grew over time. Professor Easton’s testimony concerning fiat deposit balances will be based upon
historical balance data for the fiat@ftx.com account derived from the FTX database, as well as
from bank records for accounts in the names of Alameda Research, North Dimension, and FTX.
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 Professor Peter Easton Expert Disclosure                                                  Page 3


       4. In or around August 2022, a portion of the fiat liability reflected in the balance of
fiat@ftx.com was transferred into a subaccount of the info@alameda-research.com account. The
username on the subaccount was info@alameda-research.com/ftx_fiat_old. The subaccount was
subsequently transferred from the info@alameda-research.com account to an account with the
username seoyuncharles88@gmail.com. The balance held in that subaccount was, in aggregate,
approximately negative $8 billion. From that point forward, the negative balance in the ftx_fiat_old
subaccount was no longer included in balance calculations for info@alameda-research.com.
Professor Easton’s testimony concerning the ftx_fiat_old liability will be based on records from
FTX’s transaction database.

        5. Alameda Research accrued a large negative balance on FTX.com by withdrawing
billions of dollars from the exchange. Alameda Research accrued a multi-billion-dollar negative
balance in its primary account info@alameda-research.com and subaccount info@alameda-
research.com/b_l_part_1. Notwithstanding the substantial negative balance in Alameda
Research’s subaccounts, the accounts were not liquidated. The substantial negative balance was
accrued in or about May to July 2022 principally through Alameda Research’s repayment of loans
to third-party cryptocurrency lenders. Professor Easton’s testimony concerning Alameda
Research’s negative balance on FTX.com and its withdrawals from FTX.com is based on records
from FTX’s transaction database, from records produced by cryptocurrency lenders, and from
publicly available blockchain records.

        6. Alameda Research’s large negative balance on FTX.com was also attributable to
borrowing from other customers on FTX.com through FTX’s spot margin borrowing program.
Alameda Research borrowed a significant share of the funds being lent to FTX by other FTX
customers. Alameda Research’s total negative balance on FTX was not solely attributable to
borrowing through the spot margin borrowing program. Alameda Research was able to borrow
large amounts of funds through the spot margin borrowing program through the use of FTT as
collateral. In particular, in or around October 2021, Alameda Research collateralized its borrowing
account in the borrow lend program with a ledger entry for collateral of 35 billion FTT, which
exceeded the total amount of FTT in existence. Professor Easton’s testimony concerning the
balances in the borrowing program and Alameda Research’s borrowing on FTX.com is based on
records from FTX’s transaction database.

       7. Alameda Research did significant amounts of borrowing from third-party
cryptocurrency lenders, including from Genesis, BlockFi, BitGo, LayerZero, Ledn, Nexo, Celsius,
Voyager, and others. Alameda Research’s total borrowing increased from 2019 to 2022, and the
increase correlated with an increase in the use of FTT as loan collateral. The loans were largely
open-term loans collateralized by tokens such as FTT, Solana, and Serum. Between May and July
2022, after the lenders requested repayment of loans, Alameda was required to and did repay over
approximately $4 billion in third party loans. The majority of the funds used to repay lenders came
from FTX customer funds. Not all loans were recalled by lenders in the summer of 2022, and some
lenders extended new loans to Alameda Research from June 2022 onward. At the time of FTX’s
collapse, Alameda Research had over $1 billion in outstanding third party loans. Professor
Easton’s testimony concerning third party lenders is based on records from FTX’s database, bank
records for Alameda Research bank accounts, records provided by cryptocurrency lenders, and
publicly available blockchain records.
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        8. Alameda Research’s spending—including on investments, loans to insiders, donations,
expenses, and related party transactions—exceeded the amount of funds it received from non-
customer sources as well as net income, and therefore the spending was only possible through use
of customer funds. One of the non-customer sources was funds from FTX investors that were
received by or transferred to Alameda Research. Alameda Research used FTX customer funds to
pay for a buyout of FTX shares owned by Binance, real estate in The Bahamas, political donations,
venture investments in Genesis Digital Assets, Skybridge Capital, Dave Inc., and K5 Global
Holdings, to cover losses sustained on FTX associated with MobileCoin, the purchase of
Robinhood stock, transfers to Modulo Capital, the acquisition of LedgerX, transfers to Guarding
Against Pandemics, Inc. and the FTX Foundation, and payments for celebrity sponsorships. In
certain instances, the transfers of customer funds were recorded as loans from Alameda Research
to Samuel Bankman-Fried, Nishad Singh, Gary Wang, and Ryan Salame, and then as investments
or payments by one or more of those individuals. Professor Easton’s testimony concerning the use
of FTX customer and investor funds is based on records from FTX’s database, bank records for
Alameda Research bank accounts, Alameda Research’s general ledgers, and loan documents
produced by the FTX Debtors.

       9. As of approximately November 2022, Alameda Research’s combined balance on
FTX.com, including in all info@alameda-research.com accounts and the ftx_fiat_old balance, was
approximately in excess of negative $10 billion.

   C. Approval and Signature

       I hereby approve the disclosure of my qualifications, anticipated opinions, and bases for
such opinions, as set forth above.




                                                           _________________________
                                                           Professor Peter D. Easton
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                               Appendix A: List of Publications

PUBLISHED BOOKS

Valuation Using Financial Statements: (with Phil Drake and Greg Sommers). Cambridge Business
       Publishers LLC, Chicago. First Edition, 2019, Second Edition 2021.

Financial Statement Analysis and Valuation, (with Mary Lea McAnally and Greg Sommers).
       Cambridge Business Publishers LLC, Chicago. First Edition, 2008, Second Edition, 2010,
       Third Edition, 2013, Fourth Edition, 2015, Fifth Edition, 2018, Sixth Edition, 2021.

Financial Accounting for MBAs, (with John Wild, Robert Halsey, and Mary Lea McAnally).
       Cambridge Business Publishers LLC, Chicago. First Edition, 2003, Second Edition, 2005,
       Third Edition 2008, Fourth Edition, 2010, Fifth Edition 2013, Sixth Edition, 2015, Seventh
       Edition, 2018, Eighth Edition, 2021.

Financial and Management Accounting for MBAs, (with Robert Halsey, Mary Lea McAnally, Al
       Hartgraves and Wayne Morse). Cambridge Business Publishers LLC, Chicago. First
       Edition, 2008, Second Edition, 2010, Third Edition, 2013, Fourth Edition, 2015, Fifth
       Edition 2018, Sixth Edition, 2021.

Financial Accounting, (with Thomas Dyckman and Glenn Pfeiffer). Cambridge Business
       Publishers LLC, Chicago. 2007.

RESEARCH PAPERS

“Monitoring in Private Equity” (with Stephannie Larocque, Paul Mason and Steve Utke), The
      Palgrave Encyclopedia of Private Equity, 2023.

“Private Equity Fund Reporting Quality and External Monitors, Third-party Service Providers,
       and Fund Attributes” (with Stephannie Larocque, Paul Mason and Steve Utke), CARE
       working paper, 2023.

“Attrition Bias in CRSP/Compustat Data" (with Martin Kapons, Peter Kelly and Andreas
        Neuheirl), CARE working paper, 2022.

“Forecasting Earnings Using k Nearest Neighbors” (with Martin Kapons, Steven Monahan, Harm
      Schutt and Eric Weisbrod, CARE working paper, 2022.

“Who Pays Attention to SEC Form 8-K?” (with Azi Ben-Rephael, Zhi Da, and Ryan D. Israelsen),
      The Accounting Review, 95, 5: 59-88, 2022.

“Private Equity Valuation Before and After ASC 820” (with Stephannie Larocque and Jennifer
       Sustersic Stevens), Journal of Investment Management, 19, 4: 2021.




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“The Increasing Importance of and Alignment between Compensation-Contracting and Value-
       Relevance Roles of Revenues” (with Hanni Liu, Anup Srivastava and Jennifer Yin), CARE
       working paper, 2020.

“Selecting an Earnings Forecasting Model” (with Martin Kapons, Steven Monahan, Harm Schutt
       and Eric Weisbrod, CARE working paper, 2019.

“Insights from an Enterprise Operations Perspective on Accounting Measurement and Valuation”
       (with Peter Vassallo and Eric Weisbrod), CARE working paper, 2019.

“Changes in Financial Accounting for Lease Transactions will not affect Equity Valuation” (with
      Greg Sommers), CPA Journal, June 2018.

“The Market Reaction to Bank Regulatory Reports” (with Brad Badertscher and Jeff Burks),
      Review of Accounting Studies, 23, 2: 686-731, 2018.

“Discussion of the Effect of Tax Haven Utilization on the Implied Cost of Equity Capital: Evidence
       from U.S. Multinational Firms" Journal of International Accounting Research, 17, 2: 71-
       73, 2018.

“Two Different Ways of Treating Corporate Cash in FCF Valuations—and the Importance of
     Getting the Cost of Capital Right” Journal of Applied Corporate Finance, 29, 3: 71-77,
     2017.

“Mixing Fair-Value and Historical-Cost Accounting: Measurement of Interest Income and
      Holding Gains/Losses on Available-for-Sale Debt Securities” (with Xiao-Jun Zhang),
      Review of Accounting Studies, 22, 4: 1732-1760, 2017.

“Estimating the Cost of Capital using Stock Prices and Near-term Earnings Forecasts” Journal of
       Applied Corporate Finance, 28, 3: 87-94. Reprinted in Management Accounting eJournal,
       8, 52, 2016.

“Financial Reporting: An Enterprise Operations Perspective” Journal of Financial Reporting, 1,
       1: 143-152, 2016.

“Review of Recent Research on Improving Earnings Forecasts and Evaluating Accounting-based
      Estimates of the Expected Rate of Return on Equity Capital” (with Steve Monahan), special
      issue of Abacus on Financial Statement Analysis and Valuation, 52,1: 35-58, 2016.

“The Expected Rate of Return on Equity Capital Implied by Analysts’ Forecasts of Earnings and
      Target Prices” (with Zhi Da and Keejae Hong), CARE working paper, 2016.

“Conservative Accounting and the Realization of Holding Gains and Losses on Available-for-sale
      Securities” (with Mingyue Dong and Xiao-Jun Zhang), CARE working paper, 2015.



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“The Market Pricing of Other-than-Temporary-Impairments,” (with Brad Badertscher and Jeffrey
      Burks), The Accounting Review, 89, 3: 811-838, 2014.

“Dissecting Earnings Recognition Timeliness,” (with Ryan Ball), Journal of Accounting
       Research: 2013: 1099-1132.

“Selecting an Accounting-based Valuation Model,” (with Woo-Jin Chang, Wayne Landsman and
       Steve Monahan), CARE working paper, 2013.

“A Convenient Scapegoat: Fair Value Accounting by Commercial Banks during the Financial
      Crisis,” (with Brad Badertscher and Jeffrey Burks), The Accounting Review, 2012: 59-90.
      Financial Accounting and Reporting Section American Accounting Association Best Paper
      Award for 2013.

“Pre-earnings Announcement Drift,” (with Pengie Gao and Pengqin Gao), CARE Working paper,
       2011.

“What Drives Stock Price Movement? Short-term and Long-term Cash Flows and Implied
      Expected Rates of Return,” (with Zhi Da and Keejae Hong), CARE Working paper, 2011.

“Another Look at Enterprise and Equity Valuations Using Multiples,” (with Mingcherng Deng
      and Julian Yeo), CARE Working paper, 2010.

“Earnings Management? Erroneous Inference Based on Earnings Frequency Distributions,” (with
       Cindy Durtschi), Journal of Accounting Research: 2009: 1249-1282.

“Initial Evidence on the Role of Earnings in the Bond Market,” (with Steven Monahan and Florin
         Vasvari), Journal of Accounting Research: 2009: 721-766.

“Discussion of Accounting Data and Value: the Basic Results,” Contemporary Accounting
       Research: 2009: 261-272.

“Price-convexity, Debt-related Agency Costs, and Timely Loss Recognition,” (with Valeri
       Nikolaev and Laurence van Lent), CARE Working paper, 2009.

“Are Capital Expenditures, R&D, Advertisements and Acquisitions Positive NPV?” (with Peter
      Vassallo), CARE Working paper, 2009.

“Estimating the Cost of Capital Implied by Market Prices and Accounting Data,” Foundations and
       Trends in Accounting, 2007: 241-364 (published in 2009).

“Top Level Executive Characteristics and Earnings Attributes,” (with Yuping Jia and Laurence
      van Lent), Working paper, University of Notre Dame, 2008.

“Effect of Analysts’ Optimism on Estimates of the Expected Rate of Return Implied by Earnings
       Forecasts,” (with Greg Sommers), Journal of Accounting Research, 2007: 983-1016.

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“Use of Forecasts of Earnings to Estimate and Compare Cost of Capital Across Regimes,” Journal
       of Business, Finance, and Accounting, 2006: 374-394.

“An Evaluation of Accounting Based Measures of Expected Returns,” (with Steve Monahan), The
      Accounting Review, 2005: 501-538.

“Accounting-based Estimates of the Expected Rate of Return on Equity Capital.” Blackwell
      Encyclopedia of Accounting, 2nd edition, 2005: 11-15.

“Earnings Management? The Shapes of the Frequency Distributions of Earnings Metrics are not
       Evidence Ipso Facto,” (with Cindy Durtschi), Journal of Accounting Research, 2005: 557-
       592.

“Accounting for Asset Retirement Obligations,” (with Mimi Alciatore and Carol Dee), Working
      paper, The University of Notre Dame, 2005.

“Accounting Conservatism and the Relation between Returns and Accounting Data,” (with Jinhan
      Pae), Review of Accounting Studies, 2004: 495-522.

“Changes in Environmental Regulation and Reporting: The Case of the Petroleum Industry from
      1989 to 1998,” (with Mimi Alciatore and Carol Dee), Journal of Accounting and Public
      Policy, 2004: 295-304.

“Discussion of Earnings Surprises and the Cost of Equity Capital,” Journal of Accounting,
       Auditing, and Finance, 2004: 515-521.

“PE ratios, PEG ratios, and Estimating the Implied Expected Rate of Return on Equity Capital,”
       The Accounting Review, 2004: 73-96.

“Discussion of Forward versus Trailing Earnings in Equity Valuation,” Review of Accounting
       Studies, 2004: 331-336.

“Discussion of the Predictive Value of Expenses Excluded from ‘Pro Forma’ Earnings,” Review
       of Accounting Studies, 2003: 175-183.

“Scale and the Scale Effect in Market-Based Accounting Research,” (with Greg Sommers),
       Journal of Business, Finance, and Accounting, 2002: 25-56.

“Using Forecasts of Earnings to Simultaneously Estimate Growth and the Rate of Return on
      Equity Investment,” (with Pervin Shroff, Gary Taylor and Theodore Sougiannis), Journal
      of Accounting Research, 2002: 657-676.

“Discussion of Factors Associated with Differential Market Reactions to NYSE Versus NASDAQ
       Firm’s Earnings Announcements,” Journal of Business, Finance, and Accounting, 2001:
       1109-1113.

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“Economic Value Added and Accounting Value Added,” Review of Accounting Studies, 2001:
      267-274.

“Permanent and Transitory Earnings, Accounting Recognition Lag and the Earnings Coefficient,”
      (with Pervin Shroff and Gary Taylor), Review of Accounting Studies, 2000: 281-300.

“Accounting for the Impairment of Long-Lived Assets: Evidence from the Petroleum Industry,”
      (with Mimi Alciatore and Nasser Spear), Journal of Accounting and Economics, 2000:
      151-172.

“Forecasts of Profitability and the Pricing of Shares: Is the Dow Jones Industrial Average Over-
       priced?” Maandblad voor Accountancy en Bedrijfseconomie, 2000: 49-54.

“Security Returns and the Value-Relevance of Accounting Data,” Accounting Horizons, 2000:
       399-412.

“Discussion of Revalued Financial, Tangible, and Intangible Assets: Association with Share Prices
       and Non Market-Based Value Estimates,” Journal of Accounting Research, 1998: 235-247.

“Discussion of Valuation of Permanent, Transitory and Price-Irrelevant Components of Reported
       Earnings,” Journal of Accounting, Auditing and Finance, 1998: 337-349.

“Asset Write Downs: A Decade of Research,” (with Mimi Alciatore, Carol Callaway Dee and
       Nasser Spear), Journal of Accounting Literature, 1998: 1-39.

“The Relevance of Asset Revaluations over an Economic Cycle,” (with Peter Eddey), Australian
      Accounting Review, 1997: 22-30.

“Use of Comparisons of Patterns of Stock Return and Accounting Data in Understanding
      Apparently Anomalous Returns to Accounting-based Trading Strategies,” Contemporary
      Accounting Research, 1997: 137-152.

“A Comparison of Cash Flows and Earnings in the Oil and Gas Industry,” (with Mimi Alciatore
     and Nasser Spear), Working paper, 1997.

“The Argument for Earnings: How Earnings Take Their Place in Picking Stocks,” JASSA, 1996:
      22-26.

"The Relation between Security Returns and Accounting Earnings," (with Garry Hobbes),
      Working paper, 1995.

"The Prediction of Stock Returns Using Analysts' Consensus Forecasts of Earnings," (with Egon
       Kalotay and Samantha Sin), Working paper, 1994.



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"An Investigation of Revaluations of Tangible Long-lived Assets," (with Peter Eddey and Trevor
       Harris), Journal of Accounting Research, 1993: 1-38.

"SEC Form 10K/10Q Reports and Annual Reports to Shareholders: Reporting Lags and Squared
      Market Model Prediction Errors," (with Mark Zmijewski), Journal of Accounting
      Research, 1993: 113-129.

"Accounting Earnings Can Explain Most of Security Returns: the Case of Long Event Windows,"
      (with Trevor Harris and James Ohlson), Journal of Accounting and Economics, 1992: 119-
      142.

"Empirical Evidence on the Relevance of Earnings and Book Value of Owners' Equity in Security
      Valuation" (with Trevor Harris), Working paper, Macquarie University, 1991.

"The Stock Market's Perception of Accounting Information," Australian Accounting Review, 1991:
       20-28.

"Earnings as an Explanatory Variable for Returns," (with Trevor Harris), Journal of Accounting
       Research, 1991: 19-36.

"On the Estimation of Earnings Response Coefficients", (with Mark Zmijewski), Working Paper,
       University of Chicago, 1989, presented at the American Finance Association meetings,
       New York, December 1988 and at the American Accounting Association meetings,
       Honolulu, August 1989.

"Cross-sectional Differences in the Market Response to the Announcement of Accounting
       Earnings," (with Mark Zmijewski), Journal of Accounting and Economics, 1989: 117-141.

"Joint Estimation of Several Random Coefficient Models," presented at the American Accounting
        Association meetings, Cincinnati, August 1987.

"Accounting Earnings and Security Valuation: Empirical Evidence of the Fundamental Links",
      Journal of Accounting Research, 1985: 54-77.




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                              Appendix B: Prior Expert Testimony

Zonia Holdings Pty Ltd. v. Commonwealth Bank of Australia Ltd., No. VID1085/2017 (Federal
       Court of Australia): Testified at trial as expert on behalf of the applicant.

Schultz v. Sinav Ltd., No. 2014-L-15 (Ill. Cir. Ct.): Testified at trial as expert on behalf of the defendant.

Securities and Exchange Commission v. Ripple labs Inc., No. 20 Civ. 10832 (S.D.N.Y.):
        Deposed as expert on behalf of the defendant.

Drivetrain, LLC v. Hall, No. 2019-650 (Del. Ch. Ct.): Deposed as expert on behalf of the
       defendant.

Zakinov v. Ripple Labs, Inc., No. 18 Civ. 6753 (N.D. Cal.): Expert report filed on behalf of the
       defendant.

Epic Games, Inc. v. Google LLC, No. NSD190/2021 (Federal Court of Australia): Expert report
      filed on behalf of the defendant.

Philipsen and Seymour v. American Medical Systems, LLC, No. NSD35/2018 (Federal Court of
       Australia): Affidavit filed for the court.




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